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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ASSOCIATION OF AIR MEDICAL SERVICES,

                                     Plaintiff,
                                                         Civ. No. 1:21-cv-3031 (RJL)
 v.
                                                         Consolidated with
 U.S. DEPARTMENT OF HEALTH AND HU-                       No. 1:21-cv-3231 (RJL)
 MAN SERVICES, et al.,

                                  Defendants.


         JOINT STIPULATION OF PARTIAL DISMISSAL IN CASE 21-cv-3031

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Associ-

ation of Air Medical Services (AAMS) and Defendants U.S. Department of Health and Human

Services, Secretary Xavier Becerra, U.S. Office of Personnel Management, Director Kiran Ahuja,

Associate Director Laurie Bodenheimer, U.S. Department of Labor, Secretary Martin J. Walsh,

U.S. Employee Benefits Security Administration, Principal Deputy Assistant Secretary Ali Kha-

war, U.S. Department of the Treasury, Secretary Janet Yellen, Assistant Secretary Lily L. Batchel-

der, Internal Revenue Service, Commissioner Charles Rettig, and Deputy Commissioner Douglas

W. O’Donnell, hereby stipulate to dismissal of Count I asserted in Civil Action No. 21-3031 (the

challenge to Interim Final Rule Part II). Each party shall bear its own costs, fees, and expenses.




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Dated: September 30, 2022                  Respectfully submitted,


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